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6    Attorneys for Plaintiff Robert
     Ross
7
                             UNITED STATES DISTRICT COURT
8
                           NORTHERN DISTRICT OF CALIFORNIA
9
       ROBERT ROSS, an individual,               Case No. 4:19-CV-06669 (JST)
10
                     Plaintiff,                  NOTICE OF CHANGE IN COUNSEL
11
              v.                                 Compl. filed: October 17, 2019
12
       AT&T MOBILITY LLC,
13

14                   Defendant.

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                                  Notice of Change in Counsel
          Case 4:19-cv-06669-JST Document 45 Filed 05/21/20 Page 2 of 2




1         TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

2         PLEASE TAKE NOTICE that Andrew E. Calderón formally withdraws

3    his appearance as counsel of record for Plaintiff Robert Ross. Christopher

4    Grivakes and Damion Robinson of Affeld Grivakes LLP remain as counsel of

5    record. Plaintiff respectfully requests that the Court update all case

6    information and service lists to reflect this change.

7    Dated: May 21, 2020                     Respectfully submitted,
8                                            Pierce Bainbridge Beck Price &
                                             Hecht LLP
9

10
                                             By:
11
                                                    Andrew E. Calderón
12                                                  Attorneys for Plaintiff Robert
                                                    Ross
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                               Notice of Change in Counsel
